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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

WINSOME PACKER,
Plaintiff,

v. No. 11-cv-00435 (RMC) (JMF)

THE UNITED STATES COMMISSION
ON SECURITY AND COOPERATION
IN EUROPE,

Defend ant.

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STIPULATION OF DISMISSAL OF ACTION AGAINST
DEFENDANT

Pursuant to Rule 4l(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff,
Winsome Packer, and Defendant, the Um`ted States Commission on Security and Cooperation in
Europe, by its undersigned counsel, hereby stipulate and agree to the dismissal With prejudice of

the above-captioned action, with each party bearing her;‘its Own costs and attomeys’ fees.

 

 

 

Respectfully Submitted,
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Winsome Packer Commission on Security and Cooperation in

Pro Se Europe
By Counsel

